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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                     §    Chapter 11 Case
                                                           §
Old LC, Inc., et al.,1                                     §    Case No. 19-11791 (BLS)
                                                           §
                  Debtors.                                 §    Jointly Administered

                                                           §
Old LC, Inc. (f/k/a Loot Crate, Inc.), et al.,             §
               Plaintiffs,                                 §
                                                           §
v.                                                         §    Adv. No. 22-50107 (BLS)
                                                           §
The Loot Company (f/k/a Loot Crate                         §
Acquisition LLC), Loot (Assignment                         §
for the Benefit of Creditors), LLC, and                    §
John Doe,                                                  §
                Defendants.                                §

               NOTICE OF AMENDED AGENDA OF MATTERS SCHEDULED
                  FOR HEARING ON JUNE 14, 2022 AT 11:00 A.M. (ET)

                     **THIS HEARING HAS BEEN ADJOUNRED TO
                            JUNE 29, 2022 AT 1:30 P.M. (ET)
                         AT THE REQUEST OF THE COURT**

This remote hearing will be conducted entirely over Zoom and requires all participants to
register in advance. Please register by June 13, 2022, at4:00 p.m. Eastern Time
               COURTCALL WILL NOT BE USED FOR THIS HEARING.
                 Please use the following link to register for this hearing:
     https://debuscourts.zoomgov.com/meeting/register/vJIsf-qupjwsHbGjnsN3mj4MJ1Mb_LJDLNY
      After registering your appearance by Zoom, you will receive a confirmation email
                      containing information about joining the hearing.
                                  Topic: Old LC, Inc., et al.
              Time: June 14, 2022, at 11:00 a.m. Eastern Time (US and Canada)

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          The Debtors are the following four entities (the last four digits of their respective taxpayer identification
numbers, if any, follow in parentheses): Old LC, Inc. (7119), Old LC Holdings, Inc., Old LCF, Inc., and Old LC
Parent, Inc. The Debtors’ noticing address in these Chapter 11 cases is c/o Bryan Cave Leighton Paisner LLP, Attn:
Mark I. Duedall, 1201 W. Peachtree Street, 14th Floor, Atlanta, Georgia 30309. The Debtors were formerly named
Loot Crate, Inc., Loot Crate Holdings, Inc., LC Funding, Inc., and Loot Crate Parent, Inc. Following the closing of
the sale of substantially all of the Debtors’ assets, the Debtors filed the necessary documentation in the applicable
jurisdictions to change their corporate names and filed the Notice of Changes of Debtors’ Names and Case Caption
[D.I. 265] with the Court, all in accordance with the terms of the sale and the order approving the same [D.I. 254].




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MATTERS GOING FORWARD

    1.      Joint Motion of the Debtors and The Official Committee of Unsecured
            Creditors for Authority Pursuant to 11 U.S.C. §§ 363 and 105 and Federal Rule
            of Bankruptcy Procedure 6004 to Enter into a Post-Petition Agreement with
            Stratera Capital, LLC [D.I. 833 – filed May 26, 2022].

            Objection Deadline: June 7, 2022, at 4:00 p.m. (ET).

            Responses Received:

               a) Objection of the United States Trustee to Joint Motion to Incur
                  Litigation Financing, and Cross Motion of the United States Trustee to
                  Convert or Dismiss the Debtors' Chapter 11 Cases [D.I. 836 – filed June
                  7, 2022];

               b) Objection of Loot (Assignment for the Benefit of Creditors), LLC to
                  Joint Motion of the Debtors and The Official Committee of Unsecured
                  Creditors for Authority Pursuant to 11 U.S.C. §§ 363 and 105 and
                  Federal Rule of Bankruptcy Procedure 6004 to Enter into a Post-Petition
                  Agreement with Stratera Capital, LLC [D.I. 837 – filed June 7, 2022];

               c) The Loot Company's Joinder to Loot (Assignment for the Benefit of
                  Creditors), LLC's Objection to the Joint Motion of the Debtors and The
                  Official Committee of Unsecured Creditors for Authority Pursuant to
                  11 U.S.C. §§ 363 and 105 and Federal Rule of Bankruptcy Procedure
                  6004 to Enter into a Post-Petition Agreement with Stratera Capital, LLC
                  [D.I. 840 – filed June 7, 2022]; and

               d) Joinder by Loot (Assignment for the Benefit of Creditors), LLC to Cross
                  Motion of the United States Trustee to Convert or Dismiss the Debtors’
                  Chapter 11 Cases [D.I. 842 – filed June 10, 2022].

            Related Documents:

               a) Amended Notice of Joint Motion of the Debtors and The Official
                  Committee of Unsecured Creditors for Authority Pursuant to 11 U.S.C.
                  §§ 363 and 105 and Federal Rule of Bankruptcy Procedure 6004 to
                  Enter into a Post-Petition Agreement with Stratera Capital, LLC [D.I.
                  834 – filed May 26, 2022]; and

               b) Declaration of Ron Bender in Support of Loot (Assignment for the
                  Benefit of Creditors), LLC's Objection to the Joint Motion of the
                  Debtors and The Official Committee of Unsecured Creditors for
                  Authority Pursuant to 11 U.S.C. §§ 363 and 105 and Federal Rule of
                  Bankruptcy Procedure 6004 to Enter into a Post-Petition Agreement
                  with Stratera Capital, LLC [D.I. 838 – filed June 7, 2022].



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       Status: This matter has been adjourned to June 29, 2022 at 1:30 P.M. (ET) at
       the Request of the Court.

ADVERSARY PROCEEDING

Old LC, Inc. (f/k/a Loot Crate, Inc.), et al. v. The Loot Company (f/k/a Loot Crate
Acquisition LLC), Loot (Assignment for the Benefit of Creditors), LLC, and John Doe, Adv.
Pro. No. 22-50107 (BLS)

     2.     Pretrial Conference - Summons and Notice of Pretrial Conference in an
            Adversary Proceeding [A.D.I. 13 – filed February 3, 2022]; and Summons and
            Notice of Pretrial Conference in an Adversary Proceeding [A.D. I. 35 – filed
            March 29, 2022].

            Objection Deadline: None

            Responses Received:

               a) None

            Related Documents:

               a) First Amended Complaint [A.D.I. 31 – filed March 21, 2022];

               b) Order Approving Second Stipulation Regarding Time for Loot
                  (Assignment for the Benefit of Creditors), LLC to File Response to First
                  Amended Complaint [A.D.I. 43 – filed April 25, 2022];

               c) The Loot Company’s Motion to Dismiss First Amended Complaint
                  [A.D.I. 44 – filed April 29, 2022];

               d) Opening Brief in Support of The Loot Company’s Motion to Dismiss
                  First Amended Complaint [A.D.I. 45 – filed April 29, 2022];

               e) Answer to First Amended Complaint and Counterclaim [A.D.I. 46 –
                  filed April 29, 2022];

               f) Order Approving Further Stipulation Regarding Time for The Plaintiffs
                  to File Answer or Other Response to The Loot Company’s
                  Counterclaim and a Response to The Loot Company’s Motion to
                  Dismiss [A.D.I. 54 – filed May 26, 2022];

               g) Debtors’ Motion to Dismiss The Loot Company’s Counterclaims
                  [A.D.I. 56 – filed June 3, 2022];

               h) Opening Brief in Support of Debtors’ Motion to Dismiss The Loot
                  Company’s Counterclaims [A.D.I. 57 – filed June 3, 2022];




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               i) Plaintiffs’ Response in Opposition to The Loot Company’s Motion to
                  Dismiss Count VI of the Plaintiff’s First Amended Complaint [A.D.I.
                  58 – filed June 3, 2022]; and

               j) Reply Brief in Support of The Loot Company’s Motion to Dismiss First
                  Amended Complaint [A.D.I. 59 – filed June 10, 2022]

            Status: This matter has been adjourned to June 29, 2022 at 1:30 P.M. (ET)
            at the Request of the Court.

Dated: June 13, 2022
                                           Respectfully submitted,

                                           BRYAN CAVE LEIGHTON PAISNER LLP

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